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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT



In re U.S. DOGE Service, et al.,
                                                        No. 25-5072
            Petitioners.



          UNOPPOSED MOTION FOR EXTENSION OF TIME

     The government respectfully requests a 7-day extension of time in

which to file its motion to govern further proceedings, to and including

June 16, 2025. Plaintiffs do not oppose this motion.

     1.    This matter arises from the district court’s March 12, 2025

discovery order compelling wide-ranging and expedited discovery

against a senior White House advisor and a presidential advisory body

within the Executive Office of the President. See Pet. 1-4. The district

court ordered that discovery for purposes of evaluating the plaintiffs’

forthcoming preliminary injunction motion, but before deciding the

government’s pending motion to dismiss. See Pet. 4-11.

     On March 18, 2025, the federal government filed a petition for

mandamus and an emergency motion for a stay of that discovery order,

arguing that the overbroad discovery order violated the separation of
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powers for multiple reasons. See Pet. 1-4, 11-36; Stay Mot. 1-3. This

Court granted a stay of that discovery order “pending further order of

this court.” Order (March 26, 2025). The Court emphasized that

“petitioners have shown a likelihood of success on their argument that

the district court was required to decide their motion to dismiss before

allowing discovery.” Id. And the Court directed the parties “to

promptly notify this court upon the district court’s disposition of

petitioners’ motion to dismiss.” Id.

      On May 27, 2025, the district court denied the government’s

motion to dismiss the case. See Dkt. No. 93. On May 29, 2025, this

Court ordered petitioners to file a motion to govern further proceedings

by June 9, 2025, with a response due June 20, and any reply due June

27.

      2.   On June 6, 2025, before the government had filed a motion

to govern further proceedings in these mandamus proceedings,

plaintiffs filed a motion asking the district court to “vacate the Order

allowing limited expedited discovery” and stating that plaintiffs “will

not be filing a motion for preliminary injunction.” Dkt. No. 101, at 1.

But plaintiffs specified that they “make this request without prejudice



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to their right to take merits discovery in the ordinary course pursuant

to the Federal Rules of Civil Procedure.” Id. at 1-2.

     The district court has not yet ruled on plaintiffs’ motion to vacate

the relevant discovery order.

      3.   In light of plaintiffs’ motion, the government respectfully

requests a 7-day extension of time to allow the district court to consider

the motion and to provide the government with time to consider how

the district court’s ruling affects its position on further proceedings on

its mandamus petition.

     4.    Counsel for plaintiffs has informed undersigned counsel that

plaintiffs do not oppose this extension.




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                            CONCLUSION

     For the foregoing reasons, the Court should grant a 7-day

extension of time in which to file the government’s motion to govern

further proceedings, to and including June 16, 2025.

                                       Respectfully submitted,

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      JUNE 2025




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                  CERTIFICATE OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion

complies with the requirements of Fed. R. App. P. 27(d)(1)(E) because it

has been prepared in 14-point Century, a proportionally spaced font,

and that it complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 460 words, according to the count of

Microsoft Word.

                                 s/ Joshua Dos Santos
                                  JOSHUA DOS SANTOS
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                      CERTIFICATE OF SERVICE

     I certify that on June 9, 2025, I filed and served the foregoing with

the Clerk of the Court by causing a copy to be electronically filed via the

appellate ACMS system. I also hereby certify that the participants in

the case are registered ACMS users and will be served via the ACMS

system.

                                  s/ Joshua Dos Santos
                                  JOSHUA DOS SANTOS
